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                   Exhibit A
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Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 41 of 94 PageID #:46
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 42 of 94 PageID #:47
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 43 of 94 PageID #:48
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 44 of 94 PageID #:49
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 45 of 94 PageID #:50
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 46 of 94 PageID #:51
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 47 of 94 PageID #:52
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 48 of 94 PageID #:53
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 49 of 94 PageID #:54
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 50 of 94 PageID #:55
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 51 of 94 PageID #:56
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Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 53 of 94 PageID #:58
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Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 55 of 94 PageID #:60
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Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 58 of 94 PageID #:63
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Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 60 of 94 PageID #:65
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Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 63 of 94 PageID #:68
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 64 of 94 PageID #:69
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 65 of 94 PageID #:70
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 66 of 94 PageID #:71
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 67 of 94 PageID #:72
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Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 74 of 94 PageID #:79
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 75 of 94 PageID #:80
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 76 of 94 PageID #:81
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 77 of 94 PageID #:82
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 78 of 94 PageID #:83
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 79 of 94 PageID #:84
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 80 of 94 PageID #:85
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Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 82 of 94 PageID #:87
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 83 of 94 PageID #:88
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Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 86 of 94 PageID #:91
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Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 88 of 94 PageID #:93
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 89 of 94 PageID #:94
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 90 of 94 PageID #:95
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 91 of 94 PageID #:96
Case: 1:23-cv-03346 Document #: 1-1 Filed: 05/26/23 Page 92 of 94 PageID #:97
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